Case 2:04-cv-02088-SHI\/|-dkv Document 37 Filed 08/19/05 Page 1 of 2 Page|D 37

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

FILED BY _,__ D.C.

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JoHN DOUGHERTY, “ I”OHS
Plaintiff,
v. Cv. No. 04-2088-Ma
FAULKNER’S AUTO BODY CENTER, INC.
and GARY FAULKNER,
Defendants.
J'UDGMENT

Decision kmf Court.
before the Court.
decision has been rendered.

This action came for consideration
The issues have been duly considered and a

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Consent Order of Dismissal With Prejudice,

docketed July 29,
against defendants.

APPRO\YW s l

2005.

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Non-discretionary costs are assessed

'THOMASM.(III.D

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in

case 2:04-CV-02088 Was distributed by faX, mail, or direct printing on

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Honorable Samuel Mays
US DISTRICT COURT

